 Case:18-05288-ESL11 Doc#:147 Filed:03/25/19 Entered:03/25/19 16:02:36                  Desc: Main
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 1                      IN THE UNITED STATES BANKRUPTCY COURT FOR
                                   THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                        CASE NO. 18-05288-ESL11
 4    SKYTEC INC                                   Chapter 11

 5

 6
     XX-XXXXXXX
 7
                     Debtor(s)                        FILED & ENTERED ON MAR/25/2019
 8

 9
                                              ORDER
10
          Attorney    Bryan   T.    Glover   for   Logistic     Systems,   Inc.   may    appear
11
     telephonically at the hearing to be held on March 26, 2019 at 2:00 PM
12
     However, if local counsel is not present, Logistic Systems, Inc. will not
13

14   be permitted to cross-examine any witnesses, or present documentary

15   evidence at the hearing. Please take note that specialized instructions

16   on how telephone appearances are to be conducted in the San Juan
17   Courthouse are provided by PR LBR 9074-1.
18
          IT IS SO ORDERED.
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          In San Juan, Puerto Rico, this 25 day of March, 2019.
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